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                           UNITED STATES DISTRICT COURT
1
                                     FOR THE
2                           MIDDLE DISTRICT OF GEORGIA
3                                               )
     KRYSTAL GRICE,
                                                )
4                                               )
                   Plaintiff,                   )
5                                               )   Case No.:
                    v.                          )
6                                               )   COMPLAINT AND DEMAND FOR
                                                )   JURY TRIAL
7    APOLLO EDUCATION GROUP,                    )
     INC. d/b/a/ UNIVERSITY OF                  )   (Unlawful Debt Collection Practices)
8                                               )
     PHOENIX,
                                                )
9                                               )
                   Defendant.
10

11
                                         COMPLAINT
12
           KRYSTAL GRICE (“Plaintiff”), by and through her attorneys, KIMMEL
13

14
     & SILVERMAN, P.C., alleges the following against APOLLO EDUCATION

15   GROUP, INC. d/b/a UNIVERSITY OF PHOENIX, (“Defendant”):
16
                                        INTRODUCTION
17

18
           1.      Plaintiff’s Complaint is based on the Telephone Consumer Protection
19
     Act, 47 U.S.C. § 227, et seq. (“TCPA”).
20

21                               JURISDICTION AND VENUE

22         2.      Jurisdiction of this Court arises under 28 U.S.C. § 1331, which grants
23
     this court original jurisdiction of all civil actions arising under the laws of the
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                                PLAINTIFF’S FIRST AMENDED COMPLAINT
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     United States. See Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181
1

2    L. Ed. 2d 881 (2012).
3
           3.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
4
                                      PARTIES
5

6
           4.      Plaintiff is a natural person residing in Columbus, Georgia 31907.

7          5.      Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
8
           6.      Defendant is a corporation with its headquarters located at 1625 W.
9
     Fountainhead Parkway, Tempe, Arizona 85282.
10

11         7.      Defendant is a “person” as that term is defined by 47 U.S.C. §

12   153(39).
13
           8.      Defendant acted through its agents, employees, officers, members,
14
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
15

16   representatives, and insurers.
17                                 FACTUAL ALLEGATIONS
18
           9.      Plaintiff has a cellular telephone number that she has had for at least
19
     two years.
20

21         10.     Plaintiff has only used this phone as a cellular telephone.
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           11.     Beginning in or about August 2015 and continuing through August
23
     2017, Defendant called Plaintiff incessantly each day in their attempts to entice
24

25
     Plaintiff to continue her education.


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           12.    When contacting Plaintiff on her cellular telephone, Defendant used
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2    an automatic telephone dialing system and automated and/or pre-recorded
3
     messages.
4
           13.    Plaintiff knew that Defendant used an automatic telephone dialing
5

6
     system and automated and/or pre-recorded messages as Plaintiff often would

7    answer a call to be greeted by a recording before connecting to one of Defendant’s
8
     representatives.
9
           14.    Plaintiff also recalls receiving automated voice messages from
10

11   Defendant.

12         15.    Defendant’s telephone calls were not made for “emergency
13
     purposes.”
14
           16.    Shortly after the calls began in or about August 2015, Plaintiff
15

16   spoked to Defendant, told them that she was not interested in continuing her
17   education and asked Defendant to stop calling her.
18
           17.    This was Plaintiff’s way of revoking all previous consent, if any
19
     existed, for Defendant to contact her.
20

21         18.    Once Defendant was told the calls were unwanted and to stop, there
22
     was no lawful purpose to making further calls, nor was there any good faith
23
     reason to place calls.
24

25
           19.    Despite Plaintiff’s revocation of consent, Defendant persisted in


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                              PLAINTIFF’S FIRST AMENDED COMPLAINT
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     calling Plaintiff multiple times through in or about August 2017.
1

2           20.      These additional calls were upsetting, agitating and unnerving to
3
     Plaintiff.
4
            21.      Upon information and belief, Defendant conducts business in a
5

6
     manner which violates the Telephone Consumer Protection Act.

7                           DEFENDANT VIOLATED THE TCPA
8
            22.      Plaintiff incorporates the forgoing paragraphs as though the same
9
     were set forth at length herein.
10

11          23.      Defendant initiated multiple automated telephone calls to Plaintiff’s

12   cellular telephone using a prerecorded voice.
13
            24.      Defendant initiated these automated calls to Plaintiff using an
14
     automatic telephone dialing system.
15

16          25.      Defendant’s calls to Plaintiff were not made for “emergency
17   purposes.”
18
            26.      Defendant’s calls to Plaintiff, on and after August 2015, were not
19
     made with Plaintiff’s prior express consent.
20

21          27.      Defendant’s acts as described above were done with malicious,
22
     intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
23
     under the law and with the purpose of harassing Plaintiff.
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                               PLAINTIFF’S FIRST AMENDED COMPLAINT
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           28.    The acts and/or omissions of Defendant were done unfairly,
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2    unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
3
     lawful right, legal defense, legal justification or legal excuse.
4
           29.    As a result of the above violations of the TCPA, Plaintiff has suffered
5

6
     the losses and damages as set forth above entitling Plaintiff to an award of

7    statutory, actual and treble damages.
8

9
           WHEREFORE, Plaintiff, KRYSTAL GRICE, respectfully prays for a
10

11   judgment as follows:

12                a.     All    actual damages suffered pursuant to 47             U.S.C.
13
                         §227(b)(3)(A);
14
                  b.     Statutory damages of $500.00 per violative telephone call
15

16                       pursuant to 47 U.S.C. §227(b)(3)(B);
17                c.     Treble damages of $1,500 per violative telephone call pursuant
18
                         to 47 U.S.C. §227(b)(3);
19
                  d.     Injunctive relief pursuant to 47 U.S.C. §227(b)(3); and
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21                e.     Any other relief deemed appropriate by this Honorable Court.
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                                 DEMAND FOR JURY TRIAL
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2           PLEASE TAKE NOTICE that Plaintiff, KRYSTAL GRICE, demands a
3
     jury trial in this case.
4
                                              Respectfully submitted;
5

6
       DATED: March 22, 2019                  By: /s/ Dennis R. Kurz
7                                             Dennis R. Kurz, Esq.
                                              Georgia Bar No.: 430489
8
                                              Kurz Law Group, LLC
9                                             1640 Power Fry Road, Bldg. 17, Ste. 200
                                              Marietta, GA 30067
10
                                              Phone: (678) 264-8003
11                                            dennis@kurzlawgroup.com
                                              Attorney for Plaintiff
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                                PLAINTIFF’S FIRST AMENDED COMPLAINT
